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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                           CASE NO. 4:10CR00065 BSM

KEITH ROBINSON                                                              DEFENDANT

                                       JUDGMENT

       For the reasons stated on the record at defendant Keith Robinson’s August 27, 2014,

revocation hearing, Robinson’s supervised release is hereby revoked.

       Accordingly, Robinson is sentenced to six months incarceration in the Bureau of

Prisons. Following his term of imprisonment, Robinson shall serve a term of one year of

supervised release, and shall participate in inpatient treatment followed by sixty days of

Chem-free living. All general and standard conditions previously imposed remain in full

force and effect. Robinson shall self report to the United States Marshal Service by 12 p.m.,

Thursday, September 3, 2014.

       The clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshal Service.

       IT IS SO ORDERED THIS 29th day of August 2014.



                                                    UNITED STATES DISTRICT JUDGE
